 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 1 of 7 PagelD #:1

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the

Northern District of Hlinois

_ Western

Alonso Alvarez

 

Plaintiff(s)
(Write the full name of each plaintiff who is Jiling this complaint.
Lf the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

Rockford Police Dept

 

Defendant(s)

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here. }

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Division

Case No. | Q-yOo\aAy

(to be filled in by the Clerk's Office)

 

Jury Trial: (check one) [V] Yes []No

RECEIVED

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-THOMAS G BRIJSTON .
CLERK, U.S DISTRI! COURT

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

other materials to the Clerk’s Office with this complaint.

forma pauperis.

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

 

 

Page I of 6

 
Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 2 of 7 PagelD #:2

Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I.

The Parties to This Complaint

A.

The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed.
Name Alonso Alvarez
Address 1321 Victoria Ave.
Rockford IL 61102 -
City State Zip Code
County Winnebago _ _
Telephone Number 815-608-0384
E-Mail Address n/a
The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

Name Matthew Davis -
Job or Title (ifknown) Police Officer Badge # 2539 District # 2
Address 1410 Broadway . . -
Rockford - - IL ee _ 611 04 oe
City State Zip Code
County Winnebago
Telephone Number 779-500-6555 7
E-Mail Address (if known) na - 7 . -

[ ] Individual capacity Official capacity

Defendant No. 2

 

 

 

 

 

 

 

Name Jason Dobran :
Job or Title (known) Police Officer Badge # 3858 District # 1
Address 557 Newtowne Drive .

Rockford IL 61108

City State Zip Code

County Winnebago
Telephone Number 179-500-6555 |
E-Mail Address (if known) nla

 

[ ] Individual capacity Official capacity

Page 2 of 6

 
 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 3 of 7 PagelD #:3

Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

II.

Defendant No. 3

 

 

 

 

 

Name David L.Kubly
Job or Title (if known) Repairs Small Motors
Address 2110 11th Street Site 110

Rockford IL 61104

City State Zip Code

County Winnebago
Telephone Number 815-980-5007 -
E-Mail Address (if known) n/a

 

Individual capacity [] Official capacity

Defendant No. 4

 

 

 

 

 

 

 

 

Name Max Mart
Job or Title (ifknown) Retail Store - ; -
Address 922 Kilburn Ave .

Rockford : IL 61101

City State Zip Code

County Winnebago
Telephone Number 815-904-6587
E-Mail Address (if known) nia

 

Individual capacity [| Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

No person shail be discriminated against because of race , color ,or national origin , or sex.

 

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. [f you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 6
 

 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 4 of 7 PagelD #:4

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

 

 

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?
In front of the shell gas station located on Kilburn Ave . Rockford IL .

B. What date and approximate time did the events giving rise to your claim(s) occur?
July 26th 2020 at 2:38 PM Car Accident .

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Kubly made a vain attempt to flee the scene of the accident after my vehicle damaged his trailer and
was unable to escape and decided to park in front of the Shell gas station and as did I.

| asked Kubly to provide proof of insurance and his driver's license information and refused to comply
under the premise of trying to "avoid a confrontation" and made racist remarks as a “person of color" as
he entered the Shell gas station and | stayed by my vehicle to obtain the dashcam video footage.

Matthew Davis, P.D. ordered me to maintain my distance from Kubly and to stay in my vehicle as |
overheard make a racial remark meanwhile protecting him under racial favoritism and withholding vital
information such as: his insurance policy number,his actual place of residency and his license plate
information and refused to cite Kubly's frequent habitual offenses of driving multiple unlicensed trailers
for decades.

 

 

 

Page 4 of 6

 
 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 5 of 7 PagelD #:5

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Vv. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

| want the court to compensate punitive damages and actual damages for the constant racial profiling and
discrimination and racial remarks made by the Rockford Police Officers: Matthew Davis and Jason Dobran; as
well as David Kubly. | am a citizen of the United States and | am seeking an estimated total of $1,000,000.

Page 5 of 6
 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 6 of 7 PagelD #:6

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: _ 03/15/2021

Signature of Plaintiff Alo7 72

Printed Name of Plaintiff Alonso Alvéeee- Pro-Se

 

 

 

 

B. For Attorneys
Date of signing: 03/15/2021 ;
Signature of Attorney Alonso Alvarez ; Pro-Se - _
Printed Name of Attorney
Bar Number

 

Name of Law Firm

 

 

 

Address 1321 Victoria Ave
Rockford IL 61102 -
— City "State Zip Code
Telephone Number (815) 608-0384

E-mail Address

Page 6 of 6
 

Case: 3:21-cv-50127 Document #: 1 Filed: 03/19/21 Page 7 of 7 PagelD #:7

Alonso Alvarez

 

Plaintiff

Rockford Police Dept
Max Mart

Matthew Davis
Jason Dobran

David | Kubly

 

Defendant (s)

United States District Court

For the

Northern District of ILLINOIS

Western Division

Case No
